Case 4:18-cv-00182-MOTROE' OF! CLAANP4/05/18 Page 1 of 5 a
AGAINST THE STATE OF ARIZONA SS Saou

Claim must be filed in accordance with A.R.S. § 12-821. RECEIVED ______s COPY
Please type or print legibly, Press hard when completing information.
All blanks MUST be completed.

APR - 5. 2018 7

CLERK U S DISTRICT COURT

DISTRICT OF ARIZONA
BY. DEPUT"

Clairnant's Name: ~weleade? Oda ne COC WHA

Address: Q320-nackes [\ecobalrtst sag wt LONn@\os State
Date of Birth: Gacd avn \oplo

OD Zip pLocSV |

Phone # (Home): Work:

TIME OF OCCURRENCE LOCATION OF OCCURRENCE

AW (ange ng\ amg) xr Cruzer

[dentify the circumstances under which the damage or ees were or aoe the cause thereof an ine
nature and extent of the damages and/or injuries. Li gen no, '
pages if necessary. Ot oy A PSO

\S on Tnmete CS Ane GAZOOR Oegorimest of correddvnd

DATE OF OCCURRENCE (

December VS , 20

Cre vencesk
CORB worasroro | \eeriiodo - Aow8a Kacds Cliche Ox! wry Sota co Ddice,
ON AEN augers Ree Sede ok Gree Gddek Rlbodion de wrkrunt
OK Dre BORSHKES GA NA Fame Gundy C oly Lae don VAD ont

COS Robben OMe MONG WL Rol CALANS ok Nhortvny Wi
3 KARI Qumondcnert . BS stad corondment \

¢e

YY x Netsk Goce exdrrock \
bY) e\gata HMERMEAY , BY Lostrcendty Gmenden ork,
(onbiinweh on attwooned)

Amount of Claim $ Na 0D 1209. In order for a claim to be valid, ARS 12-821 .01(A) requires the claimant to include
a specific amount for which ihe claim can be settled. The statute- requires-the

claim be filed with the State of Arizona within 180 days after the cause of action
accrues. ~

My a Date: OW /Olo/ arhh

Claimant Signature: .

Form RMO15 (6/02) IPS : 3485
Case 4:18-cv-00182-JAS Document1 Filed 04/05/18 Page 2 of 5

eA ons. tao 3S 6 Netoran ound os wSher, Sin Seen ST Sh oy : 8 So 9Q duran
Aiaio_Awmne. Delcadork ron cu. Lomiie omg ine quabed OAR ee tlio acy XeeMy
Comps dwe voles ons AQesns CA. cA ener SY) cheney re Dedointy
Gormeiakeh ate ad Sclssuss

2 Nyo\ated Ssh ane nivon ooh

NO) setude) Onordine clei oeh edeene sacs oa otek, cx Nada chciieaect Soc ockchead seg —__
SYSA erred sard crows crrommrscks goin cS 5 oma se yerdagtadn Ave iast of gob
yy Coctmeh Clement ecko gue was ctvs\sdaem Led OVS,

2 Ni Soltek Si S00 pinembsmresa®
%)_Cuicdkeamobte aso Coste ciyhmeck Scotts on SAME eehS = nethmbsnedion
® Wold at yn amendment
YR eSumed Clismank_cieess Ao _oddborney Sento, \ausibbem Sieh Lecunen)

sD Dekemdomd qecrfared NnsereNh Wap sence \n Low speech

&) DeSendeass decd acdiond degriuel delmmaak Ane aedrwdy so Soke
mivancd& Soon Seundes._qcousedtans_ovad Sasenracy ging mppionich Ane, ganS-camdaiot dase

® Ni vo\ceee heen Ree ooh enn Sara

DSS Cay, OO CS AgUAS
A ieSendnod sceckbenghy sooth Clcimcondig pertlos rongenksa\ Seve sos’

WAS anes te sel en i a SS ta sae ete RR ees
reads corre. Nesued_
VEY Redendask enSomed aavdaoimed qunlass a Neco

Ca)
Case 4:18-cv-00182-JAS Document1 Filed 04/05/18 Page 3 of 5

\B) Cranaiscken tg dateetent so Seok 6 \chimack baclt so stisan . ooNalct

pteetles tnggeoeverte, Cromer Ss sonerke) Nacad Rn, cond\-k ony

Nod ened wily tec onamiakeh C\arimeck seats mney Q Ast Sood Sle easy

Crattes Wows =o ix Suncdtachcs cman. SAN-OM Nevaeh si.)

ASS Sek Seeeniny, sesterhedivngs som CXsiuenattt a Saeco hey 1 _Secharnborgh _QrolgeAon ¢—
nort

THe costrledwMs ote desowh Bac Sowse, nO. Rormrvesriece @ caloodwe. Se cytes iodeton sy oiesiht, De skit

AWD) choses EFRON OTe 209 Seeks ugh Reman Acducnank shomictckeh oko ne,

Basch, owas egutede Cock deo Nore Peseta det ots by Sedendort
oD. Clr rca ited Ronced Socks shdladiing siclnediot coondvtnns combs vin spac darh

PND Trgedch Oderemnssnd nua oqguctiscdaeies oxy Bae Suc Wherry
SesCick  coadscsins cok catioestain, 9 eke poese curcasde swe agli

ard Dew oped ds CNcAwencc’ Scam RL AnD. EIOy Neis Serty a Simditey .
very Reta gdic Bor Nash sevace_cnenddl Sunes ciandiny opseack ocx) Saari

DAD_Aobesve. Saeitnticgch any eames. esal wrk _wrads vy tof onto Sue asters
Oichenat—ocdheNiondhs —sutoostunste oStSc80 ao oe alosehe ahah —Ovasenea «a

Xue ery Searaggmecade. CastAYAZY
2 Nholecvek. Soot deendn  gsone sade. e2ck

AY wyiclscbede due _qiaiets Ly oQuAaiy oubeide ob CON Zoobeadsions
Crodde. o& 6 Aaa dnatX

mS Deoiws odearcnek Ais sndehssoney ond _erolaedioh Ssuganyibo(
La DOU CEG ScaCine

AL) Nroleked qeogic Sue npetith Loin, eidbide, cecsemnsaby cin
Nena ntnny, senatity of tomcat serenaded Neeatn fondant iy oto Acie Ones.

Ca)

Case 4:18-cv-00182-JAS Document 1 Filed 04/05/18 Page 4 of 5

\iberty te renentn\ Nav Aw enialaMor’s one =adcecctinink  carest Soeceagecy

Doe. Aw Awe ~EANS Casas prerarcsen\ 2, on gee eth nt Nuny oo’ we DeSembunk.  chcdoewnd
s SS27k ee Soh Deady, Noses ‘

=) ete ‘yore needs. Nseries Andis \keonts,

AY wok AOA BAgoekach-+y

SY “Nw Vick Saenmnesz\ flotne Sixty

SS) Nwosk cacaSivceds QASD_secwrce. deep
ek COonceAOn, PONSA
TD Nios negated sstdo\\5,

_ NO) Nw NiO Sunsets OQQSr sti,

AY) Ne tisk “tain Doce, cogeortwndy

YD) Recelueds sme chant erco ds
. SS Qecedw zor.

NAY -"Oosk clothe. “bo toletisan, micgst easnkdd Nets costo »\e seoccuttatechad
\S) Resa ody ao Meacy cee “aw mt isot

Nee _seske Of Croizuan Cod Soden, Degearmnest ot See Soe”

Crourk an Oxon eaundy, ood SASS: apetssa6 = ORS CAS See oe Se Naae |
itis Senay ORME Cyoate oh ekenbarct \aQe DS Gobet Rox SpaSeendeamt \aog'S
Dope anet_srgned of& Or Sounorscbed Robe Cerqanks....cods con20Op Need te carads Saute»
TRpese ss naurnsrrdarsrsa i ouSieas ste oncsithe Ned. aio ene, “see uc Coutt Soda ah
Sow. sed en gander w Saad eckencny CMe cok oho scSsOYn .

[ian

Case 4:18-cv-00182-JAS Document1 Filed 04/05/18 Page 5 of 5

Or icinal oon 2 Cadi Sek ON

wre 2 San cf Comes Qiol_ cx

Sent AWD Ne. Shades

cCN\ec\ tO WZ Sp. peeves ¢ cack

_Orssa3 Orv 2 WELSAC AY vans Q SS 2 Co pRoswde

ASS Co » CoacexrS Sterk

a Ae NSO

Wot son Cx) BS] oN

S)
